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                              UN ITED STATES D ISTRICT COURT
                              SO UTHERN DISTRICT O F FLO RIDA

                           Case No.l6-8oog6-civ-M iddlebrooks/Brannon

  SECURITIES AN D EX CHAN GE COM M ISSION ,

         Plaintiff,



  N ICHOLA S TOM S,

         Defendant.

                                                           /

                      FINAL JUD G M ENT C OM PELLING NICH OLA S TO M S
                          TO CO M PLY W ITH C O M M ISSIO N O R DER

         THIS CAUSE comesbeforetheCourtonthe Complaint (DE 1)ofthe PlaintiffSecurities
  andExchangeCommission(theiçcommission'')againsttheDefendantNicholasToms(ii-roms''),and
  Toms'ConsenttoEntryofJudgment.(DE 23-1).
         The Courthas considered the Consent,the pleadings on file,and the applicable Iaw . Based

  on the foregoing itis

         O R DERED AN D ADJU DG ED that the Com m ission's M otion to Approve Consent

  Judgment(DE 23)isGRANTED.
         IT IS FUR TH ER OR DERED,thatthe Com m ission Orderentered againstTom son October

  l9,2015,be enforced.

         FURTHER ORDERED,thatjudgmententerinfavoroftheCommission andagainstToms
  intheamountof$64,489.79 fordisgorgementandprejudgmentinterestpursuanttoRule600ofthe
  Com mission'sRulesofPractice.l7 C.F.R.j201.600.
         FURTHER ORDERED,thatjudgmententerinfavoroftheCommissionandagainstToms
  intheamountof$175.339.22foracivilpenaltyandinterestthereonpursuantto31U.S.C.j3717.
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          FU RTH ER O RDERED ,that Tom s shall pay such am ounts on or before M ay 2, 2016.

  Tom s m ay transm it paym ent electronically to the Com m ission,w hich w illprovide detailed ACH

  transfer/Fedw ire instructionsupon request. Paym entm ay also be m ade directly from a bank account

  via Pay.gov through the SEC w ebsite http://-     .sec.gov/aboufofGces/ofm .htm . Tom s m ay also

  pay by certified check,bank cashier's check,or United States postalm oney order payable to the

  Securitiesand Exchange Com m ission,w hich shallbe delivered orm ailed to:

                 Enterprise ServicesCenter
                 Accounts Receivable Branch
                 6500 South M acA rthurBoulevard
                 Oklahom a City,OK 73169.

  Such paym ent shallbe accom panied by a letter identifying the case title,civilaction num ber,and

  nam e of this Court;nam ing Tom s as the defendant in this action;and specifying that paym ent is

  m ade pursuantto this FinalJudgm ent. Tom s shallsim ultaneously transm itphotocopies of evidence

  ofpaym entand case identifying inform ation to the Com m ission's counselin this action. By m aking

  this payment,Tom s relinquishes allIegaland equitable right,title,and interest in such fundsand no

  partof the funds shallbe returned to Tom s. The Com m ission shallrem itthe funds paid by Tom s

  pursuantto this FinalJudgm entto the United States Treasury.

          FURTHER ORDERED,thatifsuch amountsarenotpaid by M ay 2,2016,interestthereon

  shallaccruepursuantto28U.S.C.j 1961. ln addition,the Commission may enforcethe Court's
  judgmentfordisgorgementandprejudgmentinterestifnotpaidbymovingforcivilcontempt(and/or
  through othercollection procedures authorized by law),and the Com mission may enforce the civil
  penalty pursuanttotheprovisionsofthe FederalDebtCollection ProcedureAct,28 U.S.C.jj 3001-
  3308.
          FU RTH ER O RD ERED ,that with respect to that portion of this Judgm ent representing a

  civil money penalty, Tom s agrees that he shall not seek or accept, directly or indirectly,

  reim bursem ent or indem nification from any source, including but not Iim ited to paym ent m ade
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  pursuantto any insurance policy,with regard to any civilpenalty am ounts thatTom s pays pursuant

  to the FinalJudgm ent,regardlessofw hethersuch penalty am ounts orany partthereofare added to a

  distribution fund orotherwise used forthe benefitofinvestors. Tom s furtheragreesthathe shallnot

  claim ,assert,orapply for a tax deduction ortax creditw ith regard to any federal,state,or localtax

  forany penalty am ounts thatTom s pays pursuantto the FinalJudgm ent,regardless ofw hethersuch

  penalty amountsorany partthereofareadded to adistribution fund orotherwise used forthebenetlt

  ofinvestors.

         FURTH ER O RD EQ ED ,that, solely for pum oses of exceptions to discharge set forth in

  Section523oftheBankruptcy Code,11U.S.C.5523,theallegationsintheComplaintaretrue and
  admitted by Toms,and further,any debtfordisgorgement,prejudgmentinterest,civilpenalty or
  otheramountsduebyTomsunderthisJudgmentoranyotherjudgment,order,consentorder.decree
  orsettlem entagreem ententered in connection with thisproceeding,is a debtforthe violation ofthe

  federal securities law s or any regulation or order issued under such law s, as set forth in Section

  523(a)(19)oftheBankruptcyCode,l1U.S.C.j523(a)(19).
         FURTHER ORDERED,thatthisCoul'
                                     tshallretainjurisdiction ofthismatterfor90days
  forthe pum ose ofenforcing the term softhisJudgm ent.

         DO NE AN D O RD ERED in Chambers atW estPalm Beach,Palm Beach County,Florida,

  thisJ* dayofApril,2016.




                                                       D ONA LD M .M ID DLEBRO OKS
                                                       U NITED STATES D ISTRICT JUDG E
  Copies to:CounselofRecord
